51 F.3d 266
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert William LEISURE, Petitioner-Appellant,v.Eugene NUTH, Warden, Maryland Penitentiary;  AttorneyGeneral of the State of Maryland, Respondents-Appellees.
    No. 95-6019.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 15, 1995.Decided April 6, 1995.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Alexander Harvey II, Senior District Judge.  (CA-94-2596-H)
      Robert William Leisure, Appellant pro se.  John Joseph Curran, Jr., Attorney General, Gary Eugene Bair, Office of the Attorney General of Maryland, Baltimore, MD, for appellees.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Leisure v. Nuth, No. CA-94-2596-H (D. Md. Dec. 2, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    